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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



 FRANCESCA GINO,

                              Plaintiff,
       v.

 PRESIDENT AND FELLOWS OF HARVARD
 COLLEGE, SRIKANT DATAR, URI                                   No. 1:23-cv-11775-MJJ
 SIMONSOHN, LEIF NELSON, JOSEPH
 SIMMONS, JOHN DOES 1-10, AND JANE DOES
 1-10,
                              Defendants.



                                  NOTICE OF APPEARANCE

       Please enter the appearance of Ruth A. Bourquin as counsel for proposed amici curiae

American Civil Liberties Union and American Civil Liberties Union of Massachusetts, Inc. in

the above-captioned matter.



Dated: November 22, 2023                       Respectfully submitted,

                                               By: /s/ Ruth A. Bourquin
                                                   Ruth A. Bourquin (BBO # 552985)
                                                   AMERICAN CIVIL LIBERTIES UNION
                                                    FOUNDATION OF MASSACHUSETTS, INC.
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                                                   Boston, MA 02108
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                                 CERTIFICATE OF SERVICE

          I hereby certify that on November 22, 2023, a true copy of the above document was filed

via the Court’s CM/ECF system and that a copy will be sent automatically to all counsel of

record.

                                                      /s/ Ruth A. Bourquin
                                                      Ruth A. Bourquin




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